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  JESUS GABRIEL GELLA,                                     UNITED STATES DISTRICT COURT
                                                           SOUTHERN DISTRICT OF FLORIDA
        PLAINTIFF(S),

  vs.                                                      CASE NO.: 1:22-cv-22900-KMM

  HEALTHCARE REVENUE RECOVERY
  GROUP, LLC,                                              RE: NOTICE OF APPOINTMENT OF
                                                           MEDIATOR, AND SCHEDULED
         DEFENDANT(S),                                     CONFERENCE DATE
                                                           FLORIDA BAR NO. 354929


          YOU ARE NOTIFIED that the undersigned is the Certified Mediator stipulated to in this
  action pursuant to F.S. 44.1011-201 and the applicable Fed.R.Civ.P. The Mediation Conference has
  been set to be heard on the 21th day of January, 2023, commencing at 1:00 P.M. at the offices at
  Hollywood Office Suites, 3440 Hollywood Blvd, Suite 415, Hollywood, FL 33021. The agreed
  rate of compensation shall be $225.00 per party / per hour. Counsel and their respective parties
  agree that the mediator will be compensated for all mediation services, including scheduling, travel,
  preparation and follow up work, time, attorneys’ fees and costs incurred in collection of fees, responding
  to subpoenas, discovery requests, filing court papers or attending any court proceeding. There is a two-
  hour minimum which is due seven (7) days prior to the conference. If there is a settlement, schedule
  change or cancellation made less than seven (7) business days before the scheduled mediation conference,
  then the minimum fee shall be charged to the party or apportioned equally among the parties responsible
  for the cancellation. Counsel for each party is responsible for financial arrangements with their clients
  and timely payment of said fees prior to any dismissal. Counsel and the parties agree to be jointly and
  severally responsible for their portion of the mediator’s fee at the conclusion of each conference. Interest
  on any unpaid balances shall be at ten percent per annum.


                                     CERTIFICATE OF SERVICE
          I hereby certify that a true and correct copy of this notice has been emailed on the 14th
  day of January, 2023, to:.Patrick Frank, Esq., lawatf@aol.com Darren Newhart, Esquire,
  darren@newhartlegal.com , Newhart Legal, P.A.,14611 Southern Blvd. Suite 1351, Loxahatchee, FL
  33470; Matthew D. Bavaro, Esquire, matthew@fight13.com, Loan Lawyers, LLC, 3201 Griffin Road
  #100, Fort Lauderdale, FL 33312; Ernest H. Kohlmyer, III, Esquire, Skohlmyer@shepardfirm.com,
  tkittilson@shepardfirm.com, Shepard, Smith, Kohlmyer & Hand, P.A., 2300 Maitland Center Parkway,
  Suite 100, Maitland, Florida 32751.



                                                    _____________Laurie L Riemer_________________
                                                    Laurie L. Riemer, Esquire, Mediator/Arbitrator
                                                    20155 Northeast 38th Court, #3104
                                                    Aventura, Florida 33180
                                                    (305) 932-2200
                                                    Email: Lriemer@riemermediation.com
